 Case 2:18-cv-00215-JRG Document 10 Filed 06/27/18 Page 1 of 1 PageID #: 113



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            9P?PC!0?N!6K&- VA 73140
            4GNI!6?IC- DLA Piper LLP (US)
            /BBNCOO- 500 Eighth Street NW
                         Washington, DC 20004


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            4?T- (202) 799-5362
            3I?GH- damon.lewis@dlapiper.com
                  #!&(02+)+&$2(!.)!&.-)(0(-&(!'.(1!-.2!-(('!2.!%(!)+,('!4+2*!2*+1!3-.//.1('!$//,+&$2+.-"
